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                                UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     NORTHERN DIVISION

                                      No.   d: d-\ -   Cg__- IE L (4  J
          UNITED STATES OF AMERICA               )
                                                 )
               V.                                )             INDICTMENT
                                                 )
          JOHNATHAN PEEK                         )
              a/k/a "Big Boy"                    )


          The Grand Jury charges that:


                                              COUNT ONE

                    From on or about Au gust 16, 2019, to a time unknown but no later than

          September 14, 2019, in the Eastern District of North Carolina, the defendant,

          JOHNATHAN PEEK, a/k/a "Big Boy," knowingly possessed a stolen firearm, which

          had been shipped and transported in interstate commerce before it was stolen,

          knowing and having reasonable cause to believe the firearm was stolen, in violation

          of Title 18, United States Code, Sections 922(j) and 924.


                                              COUNT TWO

                    From on or about August 16, 2019, to a time unknown but no later than

          September 14, 2019, in the Eastern District of North Carolina, the defendant,

          JOHNATHAN PEEK, a/k/a "Big Boy," knowing he had previously been convicted of

          a crime punishable by imprisonment for a term exceeding one (1) year, knowingly
...

      possessed a firearm, and the firearm was in and affecting commerce, in violation of

      Title 18, United States Code, Sections 922(g)(l) and 924.


                                        COUNT THREE

             On or about September 20, 2019, in the Eastern District of North Carolina,

      the defendant, JOHNATHAN PEEK, a/k/a "Big Boy," knowingly possessed stolen

      firearms, which had been shipped and transported in interstate commerce before they

      were stolen, knowing and having reasonable cause to believe the firearms were

      stolen, in violation of Title 18, United States Code, Sections 922(j) and 924.


                                         COUNT FOUR

            On or about September 20, 2019, in the Eastern District of North Carolina the

      defendant, JOHNATHAN PEEK, a/k/a "Big Boy," knowing he had previously been

      convicted of a crime punishable by imprisonment for a term exceeding one (1) year,

      knowingly possessed firearms, and the firearms were in and affecting commerce , in

      violation of Title 18, United States Code, Sections 922(g)(l) and 924.




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                                            FORFEITURE NOTICE

                   The defendant is hereby given notice that all of the defendant's interest in all

            property specified herein is subject to forfeiture.

                   Upon conviction of the offenses set forth in Counts One through Four, the

            defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

            Section 924(d), as made applicable by Title 28, United States Code, Section 2461(c),

            any and all firearms and ammunition involved in or used in a knowing commission

            of that said offense.

                   If any of the property described above, as a result of any act or omission of the

            defendant:

                   a.     cannot be located upon the exercise of due diligence;

                  b.      has been transferred or sold to , or deposited with, a third person;

                  c.      has been placed beyond the jurisdiction of the court;

                   d.     has been substantially diminished in value; or

                  e.      has been commingled with other property which cannot be divided

                         without difficulty,



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               it is the intent of the United States, pursuant to Title 21, United States Code, Section

               853(p), to seek forfeiture of any other property of said defendant up to the value of

               the forfeitable property described above .


                                                                A TRUE BILL




                                                                DATE:   / - 1,-   2,1?2/
               ROBERT J. HIGDON, JR.
               United States Attorney


               By:  QI~/
                  JAKED .PUH
                  Assistant United States Attorney
                  Criminal Division




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